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 4   Las Vegas, Nevada 89101
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 6   Attorneys for the United States

 7                                 UNITED STATES DISTRICT COURT
                                        DISTRICT OF NEVADA
 8
     UNITED STATES OF AMERICA,                          Case No. CR-S-93-134-RFB-RJJ)
 9
                      Plaintiff,                        Motion to Dismiss the Indictment
10                                                      Without Prejudice and Quash Arrest
           v.                                           Warrant
11
     CARLOS GOMEZ MARTINEZ,
12
                     Defendant.
13

14
            On January 19, 1994, CARLOS GOMEZ-MARTINEZ was charged by a federal
15
     grand jury with Conspiracy to Distribute a Controlled Substance in violation of 21 U.S.C.
16
     §§ 841(a)(1) and 846. (#57). An arrest warrant was issued September 30, 1994 (#150).
17
     GOMEZ-MARTINEZ has never been located by the FBI, the investigating agency, and
18
     GOMEZ-MARTINEZ has never appeared before this court.
19
             Given the age of the case, interest of justice calls for dismissing the pending action.
20
                Pursuant to Federal Rule of Criminal Procedure 48(a), the government hereby
21
     moves for leave of Court to dismiss the Indictment without prejudice and quash the arrest
22
     warrant.
23

24
     Case 2:93-cr-00134-RFB-RJJ Document 256 Filed 12/02/21 Page 2 of 3




1    Respectfully submitted this 5th day of November, 2021.

2                                             CHRISTOPHER CHIOU
                                              Acting United States Attorney
3
                                              /s/ Susan Cushman
4                                             SUSAN CUSHMAN
                                              Assistant United States Attorney
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1                     UNITED STATES DISTRICT COURT
2
                           DISTRICT OF NEVADA

3    UNITED STATES OF AMERICA,                         Case No. 2:93--cr-00134-RFB -RJJ

4                  Plaintiff,                          Proposed Order Granting
                                                       Motion to Dismiss the Indictment
5          v.                                          Without Prejudice and Quash the Arrest
                                                       Warrant
6    CARLOS GOMEZ-MARTINEZ,

7                 Defendant.

8

9          Pursuant to Federal Rule of Criminal Procedure 48(a), and upon leave of Court, the

10   United States hereby dismisses without prejudice the Indictment against Defendant

11   CARLOS GOMEZ-MARTINEZ and quash the arrest warrant.

12                                                     CHRISTOPHER CHIOU
                                                       Acting United States Attorney
13
                                                       /s/ Susan Cushman
14                                                     SUSAN CUSHMAN
                                                       Assistant United States Attorney
15

16         Leave of Court is granted for the filing of the above dismissal.

17                     2nd
           DATED this _______          December 2021.
                              day of ___________,

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20                                      RICHARD F. BOULWARE, II
                                        UNITED STATES DISTRICT JUDGE
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